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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

   ANDRES GOMEZ, on his own and on behalf              )
   of all others similarly situated                    )
                                                       )
                  Plaintiff,                           )
                                                       )      Case No. 1:17-cv-22747-MGC
          v.                                           )
                                                       )
   GENERAL NUTRITION CORPORATION,                      )
                                                       )
                  Defendant.                           )
                                                       )
   ______________________________________              )

      DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
    SUMMARY JUDGMENT WITH INCORPORATED MEMORANDUM OF LAW AND
               RULE 56(d) MOTION FOR ABATEMENT OR STAY

      [Filed concurrently with a Defendant’s Response to Plaintiff’s Statement of Material Facts,

                  Affidavit of Joshua Smith, and Rule 56(d) Declaration by Paul Berg]

          Defendant, General Nutrition Corporation (hereinafter “GNC”), by and through its

   undersigned attorney, files this Response in Opposition to Plaintiff’s Motion for Summary

   Judgment and Motion for Abatement or Stay Pursuant to Rule 56(d).

                                         INTRODUCTION

          On July 25, 2017 Plaintiff, Andres Gomez (hereinafter “Plaintiff”) brought this Class

   Action Lawsuit alleging that GNC’s website, www.gnc.com, is not accessible to him as a

   visually-impaired individual. Plaintiff brought this suit on his own and on behalf of a proposed

   class of    “all legally blind individuals in the United States who have attempted to access

   GNC.com and as a result have been denied access to the enjoyment of goods and services

   offered by GNC, during the relevant statutory period.” On August 30, 2017, GNC Answered

   Plaintiff’s Class Action Complaint. Pursuant to the Local Rules the Parties filed a Joint
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   Scheduling Report proposing an agreed pre-trial schedule. The Court on October 23, 2017

   entered an Order Setting Pretrial Deadlines as follows:

           [October 17, 2017] Initial Disclosures.

          [November 30, 2017] Motions to Amend Pleadings or Join Parties.

          [February 28, 2018] Exchange of Plaintiff’s Expert Witness Summary and Report.

          [April 19, 2018] Exchange of Defendant Expert Witness Summary and Report.

          [April 30, 2018] Exchange of Rebuttal, Witness Summaries and Reports.

          [May 21, 2018] Completion of Discovery (including Expert Discovery).

          [June 20, 2018] Plaintiff’s Motion for Class Certification.

          [(60) days after the Court’s Ruling on Plaintiff’s Motion for Class Certification]

          Dispositive Motion.

          [(30) days after the Court’s Ruling on Dispositive Motion] Pre-Trial Stipulation.

          [(60) days before trial] Witness and Exhibit Lists.

          On January 8, 2018, almost five months prior to the close of discovery, Plaintiff has filed

   a Motion for Summary Judgement asking this Court to order Defendant in violation of the ADA

   to comply with the WCAG 2.0 Guidelines and conform its website to meet those Guidelines.

   Interestingly, nowhere in Plaintiff’s Motion For Summary Judgement does he address that this is

   a class action suit and that a class has yet to be certified. Defendant has not been given an

   adequate opportunity to conduct discovery and granting Plaintiff’s motion would violate the rule

   against one-way intervention. Plaintiff’s Motion for Summary Judgment is both premature and

   procedurally improper, it therefore should be denied.




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   DEFENDANT’S RESPONSE TO PLAINTIFF’S STATEMENT OF MATERIAL FACTS,
   AFFIDAVIT OF JOSHUA SMITH, AND RULE 56(D) DECLARATION BY PAUL BERG


          Defendant separately filed its S.D. Fla. Loc. R. 56.1(a) Response to Plaintiff’s Statement

   of Material Facts, Affidavit of Joshua Smith, and Rule56(d) Declaration by Paul Berg and

   incorporates as fully set forth herein.

                                             LEGAL STANDARD

          A party may obtain summary judgment "if the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R.

   Civ. P. 56(a). The parties may support their positions by citation to the record, including inter

   alia, depositions, documents, affidavits, or declarations. Fed. R. Civ. P. 56(c). An issue is

   genuine if "a reasonable trier of fact could return judgment for the non-moving

   party." Miccosukee Tribe of Indians of Fla. v. United States, 516 F.3d 1235, 1243 (11th Cir.

   2008). A fact is material if it "might affect the outcome of the suit under the governing law." Id.

   The Court views the facts in the light most favorable to the non-moving party and draws all

   reasonable inferences in its favor. See Davis v. Williams, 451 F.3d 759, 763 (11th Cir.

   2006); Howard v. Steris Corp., 550 F. App'x 748, 750 (11th Cir. 2013)("The court must view all

   evidence most favorably toward the nonmoving party, and all justifiable inferences are to be

   drawn in the nonmoving party's favor.").

          "[T]he court may not weigh conflicting evidence to resolve disputed factual issues; if a

   genuine dispute is found, summary judgment must be denied." Carlin Commc'n, Inc. v. Southern

   Bell Tel. & Tel. Co., 802 F.2d 1352, 1356 (11th Cir. 1986); see also Aurich v. Sanchez, 2011

   U.S. Dist. LEXIS 134238, 2011 WL 5838233, at *1 (S.D. Fla. Nov. 21, 2011) ("If a reasonable

   fact finder could draw more than one inference from the facts, and that inference creates an issue

   of material fact, then the court must not grant summary judgment."). In particular, summary




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   judgment is inappropriate where the Court would be required to weigh conflicting renditions of

   material fact or determine witness credibility. See Hairston v. Gainesville Sun Publ'g Co., 9 F.3d

   913, 919 (11th Cir. 1993) (noting a court must not weigh conflicting evidence nor make

   credibility determinations when ruling on a motion for summary judgment); Mize v. Jefferson

   City Bd. of Educ., 93 F.3d 739, 742 (11th Cir. 1996) ("It is not the court's role to weigh

   conflicting evidence or to make credibility determinations; the non-movant's evidence is to be

   accepted for purposes of summary judgment."); Gary v. Modena, 2006 U.S. App. LEXIS 31640,

   2006 WL 3741364, at *16 (11th Cir. Dec. 21, 2006) (Rule 56 precludes summary judgment

   where court would be required to reconcile conflicting testimony or assess witness

   credibility); Ramirez v. Nicholas, 2013 U.S. Dist. LEXIS 147379, 2013 WL 5596114, at *4

   (S.D. Fla. Oct. 11, 2013)("The Court may not make the credibility determinations needed to

   resolve this conflict; only the jury may do so.").

          The moving party shoulders the initial burden of showing the absence of a genuine issue

   of material fact. Shiver v. Chertoff, 549 F.3d 1342, 1343 (11th Cir. 2008). Even where an

   opposing party neglects to submit any alleged material facts in controversy, the court must still

   be satisfied that all the evidence on the record supports the uncontroverted material facts that the

   movant has proposed before granting summary judgment. Reese v. Herbert, 527 F.3d 1253,

   1268-69, 1272 (11th Cir. 2008).

        PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT IS PREMATURE AND
                         PROCEDURALLY IMPROPER

      A. Plaintiff’s Motion Is Premature and In Violation of the Courts Scheduling Order

          "Where there has not yet been . . . an 'adequate opportunity for discovery,' summary

   judgment is simply not appropriate or warranted." Rodriguez v. Target Corp., 2014 U.S. Dist.

   LEXIS 140312, at *9 (S.D. Fla. Oct. 1, 2014); Ramos v. Goodfellas Brooklyn's Finest Pizzeria,

   LLC, 2008 U.S. Dist. LEXIS 87368, 2008 WL 4613059, at *2 (S.D. Fla. Oct. 15, 2008); see also



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   Snook v. Trust Co. of Georgia Bank of Savannah, N.A., 859 F.2d 865, 870 (11th Cir. 1988)

   ("This court has often noted that summary judgment should not be granted until the party

   opposing the motion has had an adequate opportunity for discovery.").

          Rule 56 "presumes that a party opposing summary judgment has been afforded an

   opportunity to conduct sufficient discovery so that it might be able to show that there does exist a

   genuine issue of material fact." Ventrassist Pty Ltd. v. Heartware, Inc., 377 F. Supp. 2d 1278,

   1287 (S.D. Fla. 2005); see also Reyes v. AT & T Mobility Servs. LLC, 759 F. Supp. 2d 1328,

   1332 (S.D. Fla. 2010) ("Summary judgment motions are made at the completion of discovery . . .

   Rule 56 is premised on the assumption a party will have had an 'adequate opportunity to

   complete discovery prior to consideration of the motion.'" (quoting Jones v. City of Columbus,

   Ga., 120 F.3d 248, 253 (11th Cir. 1997)). Indeed, the Eleventh Circuit has stated that the

   common denominator among the Supreme Court's three seminal summary judgment opinions is

   the Court's caveat that summary judgment may only be decided upon an adequate record. WSB-

   TV v. Lee, 842 F.2d 1266, 1269 (11th Cir. 1988).

          Plaintiff’s Motion for Summary Judgment is premature and violates the Court’s Order

   Setting Pre-Trial Deadlines. [See ECF Doc. No. 16]. Pursuant to the Court’s Order dispositive

   Motions are not to be filed until after the Court’s Ruling on Plaintiff’s Motion For Class

   Certification. Defendant has not been afforded the adequate opportunity for discovery. Further,

   Pursuant to the Court’s Order, Discovery does not close until May 21, 2018.

          Additionally, Federal Rule of Civil Procedure 56(d) further provides a shelter against the

   entry of summary judgment for a non-movant pending additional discovery. "When a summary

   judgment motion is filed, Federal Rule of Civil Procedure 56(d) allows a district court, before

   deciding that pending motion, to grant a continuance for additional discovery when the party

   opposing the motion 'shows by affidavit or declaration that, for specified reasons, it cannot




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   present facts essential to justify its opposition.'" Wingster v. Head, 318 Fed. Appx. 809, 813

   (11th Cir. 2009) (citation omitted). "The decision lies within the sound discretion of the trial

   judge." Anderson v. Dunbar Armored, Inc., 678 F. Supp. 2d 1280, 1295 (N.D. Ga. 2009)

   (citations omitted); and see Barfield v. Brierton, 883 F.2d 923, 932 (11th Cir. 1989); Wallace v.

   Brownell Pontiac-GMC Co., Inc., 703 F.2d 525 (11th Cir. 1983).

          Discovery is in its early stages. As of the date of Plaintiff’s Motion, Defendant has yet to

   serve written discovery requests on the Plaintiff. No depositions have occurred. Expert witnesses

   have not been identified or deposed. In support of his motion Plaintiff has filed a Statement of

   Material Facts and an Affidavit of Andres Gomez. Defendant has not had an adequate

   opportunity to develop the record to challenge this affidavit. As evidenced in the Declaration by

   Attorney Paul R. Berg Defendant intends to conduct discovery on the following factual issues:

                     •   Whether Plaintiff, Gomez is a legally blind person.
                     •   Whether the Plaintiff is a member of a protected class of
                         individuals under the ADA.
                     •   Whether Plaintiff requires a screen reading software
                         programs to read website content using a computer.
                     •   Whether the alleged access barriers on GNC’s website have
                         deterred Plaintiff from visiting GNC’s brick and mortar
                         retail locations.
                     •   What specific screen reading software Plaintiff used to
                         navigate internet content and specifically GNC’s website.
                     •   What specific portions of the GNC website Plaintiff was
                         unable to access.
                     •   Whether Plaintiff cannot effectively or meaningfully
                         navigate websites on a computer without installing and
                         using a screen reading software program.
                     •   Whether JAWS provides the only method by which
                         Plaintiff may independently accesses the internet.
                     •   What specific inputs Plaintiff utilized in an attempt to
                         adjust the website into a format that is compatible with a
                         screen reader or the ability to change the size or type of
                         font.
                     •   What changes to the website, if any, are required to make it
                         accessible or to provide reasonable accommodation.
                     •   Whether WCAG 2.0 Guidelines have any application under
                         the facts of this case.



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                      •   Whether the Plaintiff is typical of members of the alleged
                          class.
                      •   Whether the Plaintiff’s claims are typical of those of the
                          claims of the class members.
                      •   Whether the Plaintiff will fairly and adequately represent
                          and protect the interest of the class members.
                      •   Whether Plaintiff has retained and is represented by
                          counsel competent and experienced in complex class action
                          litigation.
                      •   Whether Plaintiff has interests antagonistic to the members
                          of the class.
                      •   Whether questions of fact are common to class members
                          and predominant over questions affecting Plaintiff or
                          individual class members.

          Here, GNC is not asking the Court to allow for additional discovery but asking the Court

   to allow Defendant to complete initial discovery pursuant to the Court’s Pre-Trail Order. For

   these reasons, Plaintiff’s Motion for Summary Judgment is premature and therefore should be

   denied. Alternatively, pursuant to Federal Rule of Civil Procedure 56(d) Defendant moves for an

   abatement or stay of Plaintiff’s Motion For Summary Judgment until such time as it can perform

   adequate discovery.

      B. Plaintiff’s Motion Is Procedurally Improper Due to the Rule Against One-Way

          Intervention

          Plaintiff’s Motion for Summary Judgment is Procedurally Improper because it violates

   the rule against one-way intervention by seeking adjudication on the merits of their claims prior

   to a decision on class certification.   "'One-way intervention' occurs when the potential members

   of a class action are allowed to 'await . . . final judgment on the merits in order to determine

   whether participation in the class would be favorable to their interests.'" London v. Wal-Mart

   Stores, Inc., 340 F.3d 1246, 1252 (11th Cir. 2003) (quoting Am. Pipe & Constr. Co. v. Utah, 414

   U.S. 538, 547, 94 S. Ct. 756, 38 L. Ed. 2d 713 (1974)); see also Alhassid v. Bank of Am., N.A.,

   2015 U.S. Dist. LEXIS 185092, at *4 (S.D. Fla. May 29, 2015) . "The result is that putative class

   members can simply observe the proceedings without assuming any risk that their individual


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   claims may be precluded by an adverse ruling on the merits." Newton v. S. Wood Piedmont Co.,

   163 F.R.D. 625, 630 (S.D. Ga. 1995) aff'd, 95 F.3d 59 (11th Cir. 1996). That is, because without

   class certification, the absent plaintiffs would not be bound by the court's ruling on the merits.

   "Rule 23(c)(2)'s requirement that, in opt-out class actions, notice be given to all class members as

   soon as practicable was intended by Congress to prevent one-way intervention." London, 340

   F.3d at 1252-53; see also Schwarzschild v. Tse, 69 F.3d 293, 295 (9th Cir. 1995) ("[D]istrict

   courts generally do not grant summary judgment on the merits of a class action until the class has

   been properly certified and notified.").

          Here, this is the exact kind of case where the risks implicated by of the rule against one-

   way intervention are apparent. These ADA website claims are being brought by Plaintiffs all

   over the country both individually and as class actions. There does appear to be a large group of

   potential plaintiffs waiting on the sidelines to see if Plaintiff succeeds on the merits before

   deciding to participate in this class action or pursue their own rights. See Alhassid v. Bank of

   Am., 2015 U.S. Dist. LEXIS 185092, at *4 (S.D. Fla. May 29, 2015). “There exists virtues of

   addressing class certification before there is an adjudication on the merits. It promotes judicial

   efficiency by postponing merits rulings until such time as all potential parties may be bound by

   the court's rulings. In addition, it promotes fairness by ensuring that parties bear equally the

   benefits and burdens of favorable and unfavorable merits rulings.” Id. Here, Plaintiff’s Motion

   for Summary Judgment is Procedurally Improper because it violates the rule against one-way

   intervention rule by seeking adjudication on the merits of their claims prior to a decision on class

   certification. The Court should deny Plaintiff’s motion so it does not violate the rule against one-

   way intervention.

      C. Despite Not Having An Adequate Opportunity To Complete Discovery Genuine
         Disputes Of Material Fact Exist On The Current Record Which Prevent Summary
         Judgement




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       Plaintiff’s allegations include claims regarding the website in 2016. See Plaintiff Affidavit ¶

   4. The website platform changed in April of 2017, see Joshua Affidavit ¶ 7, making those

   unspecified violations moot. Additionally, the website changes on almost a daily basis.

   Therefore, the barriers Plaintiff alleges were in place may have been cured in the normal course

   of business. Plaintiff must provide more specific details about the parts of the website he found

   to be inaccessible. He also must specify when these alleged barriers were encountered. There is

   also a question of fact regarding his choice of screen reader program and its interaction with the

   GNC website.

       GNC also disputes Plaintiff’s Statement that it has made no effort to make the website

   accessible. Much of www.GNC.com contains alternative text for graphics, the background and

   foreground content has high contrast, and most form controls have text labels, and other details

   that render www.GNC.com accessible. See Affidavit of Joshua Smith, ¶ 9. GNC disputes

   Plaintiff’s Statement that the “terms and conditions are silent on the issue” because Plaintiff fails

   to define what “issue” it is referring to. If Defendant is to assume that Plaintiff is referring to

   GNC’s efforts to make the website accessible, GNC “terms and conditions” provides “Additional

   Assistance. If you do not understand any of the foregoing Terms and Conditions or if you have

   any questions or comments, we invite you to contact us at GNC, Marketing Department - 14th

   Floor, 300 Sixth Avenue, Pittsburgh, PA 15222, Attn: Privacy Manager or e-mail us at

   privacyconcerns@gnc.com. Alternatively, you may call us toll-free at 1-877-GNC-4700.” See

   Defendant’s Response to Plaintiff’s First Set of Interrogatories No. 3 which provided a link to

   the terms and conditions:

   http://web.archive.org/web/20120804015949/http:/www.gnc.com/helpdesk/index.jsp?display=sa

   fety&subdisplay=terms




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      GNC additionally, disputes that it has no polices concerning “accessibility.” GNC launched a

   new website platform in April, 2017 and has a policy that attempts to ensure that alternative text

   for graphics is available, that background and foreground content has high contrast, and that

   form controls have text labels. See Affidavit of Joshua Smith, ¶ 7, 8.

      Finally, Plaintiff in his motion asks the court to not only find that there was a violation of the

   ADA but to order GNC to comply with the WCAG 2.0 Guidelines and conform its website to

   meet those Guidelines. However, Plaintiffs Statement of Material Facts and Plaintiff’s Affidavit

   provide NO support that compliance with the WCAG 2.0 would cure the alleged ADA

   violations. Plaintiff has also presented no evidence to establish that compliance with the WCAG

   2.0 would not be unduly burdensome on Defendant.

                                            CONCLUSION

      It is respectfully requested that the Court deny Plaintiff’s Motion for Summary Judgment.

   Alternatively, pursuant to Federal Rule of Civil Procedure 56(d) Defendant moves for an

   abatement or stay of Plaintiff’s Motion For Summary Judgment until such time as it can perform

   adequate discovery.

                                    CERTIFICATE OF SERVICE

          I hereby certify that on 2nd day of February, 2018, I electronically filed the foregoing
   document with the Clerk of the Court. I also certify that the foregoing document is being served
   this day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.




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